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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

MARYLAND CHAPTER OF THE SIERRA :
CLUB, part of Sierra Club, Inc.,
et al.                           :

     v.                             :   Civil Action No. DKC 22-2597

                                :
FEDERAL HIGHWAY ADMINISTRATION,
et al.                          :

    * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                                    :
NORTHERN VIRGINIA CITIZENS
ASSOCIATION                         :

     v.                             :   Civil Action No. DKC 22-3336

                                    :
FEDERAL HIGHWAY ADMINISTRATION,
et al.                          :

                         ORDER TO CONSOLIDATE

     The Northern Virginia Citizens Association filed a motion to

consolidate the above cases.      (Civil Action No. DKC 22-3336, ECF

No. 29).   All parties in both cases do not oppose consolidation.

The motion will be granted as these cases share common facts,

Plaintiffs challenge the same approval of a road widening project

that will add toll lanes to a 15-mile stretch of Interstate 495

and Interstate 270 between McLean, Virginia and Gaithersburg,

Maryland, and judicial review of both cases will be based on the

same administrative record.     Counsel in both cases participated in
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a telephone conference on January 6 and agreed to a joint briefing

schedule.

     Accordingly, it is this 28th day of February, 2023, by the

United States District Court for the District of Maryland hereby

ORDERED that:

     1.     The consent motion to consolidate BE, and the same hereby

IS, GRANTED;

     2.     The cases are consolidated for all purposes under Civil

Action No. DKC 22-2597;

     3.     Civil Action No. DKC 22-3336 BE, and the same HEREBY IS

ADMINISTRATIVELY CLOSED;

     4.     The complaint (ECF No. 1), revised civil cover sheet

(ECF No. 13), Local Rule 103.3 disclosure statement by Northern

Virginia    Citizens   Association   (ECF   No.    14),      and   motion   to

consolidate (ECF No. 29) filed in Civil Action DKC 22-3336 shall

be docketed in Civil Action DKC 22-2597;

     5.     The parties are reminded that all future papers should

be filed in Civil Action No. DKC 22-2597; and

     6.     The Clerk IS DIRECTED to transmit a copy of this Order

to counsel of record.

                                            /s/
                                  DEBORAH K. CHASANOW
                                  United States District Judge

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